                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                        CASE NO. 3:04CR201-3-Mu


UNITED STATES OF AMERICA

              v.                                                  ORDER


WILLIAM PROPST, JR.



       THIS MATTER comes before the Court on Defendant William Propst, Jr.'s

Motion to Terminate Probation. As Defendant has complied with all conditions of his

probation for a period of over one year, has paid all fines levied against him in this

matter, and as the United States Probation Office and the United States Attorney's Office

for the Western District of North Carolina do not object, this Motion is GRANTED and

Defendant's probation is hereby terminated.

       IT IS SO ORDERED.
                                        Signed: August 9, 2007




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